Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 1 of 15




                       EXHIBIT 10
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 2 of 15

                                                             Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                         1                                                                             3

   1          UNITED STATES DISTRICT COURT                      1                     INDEX
   2          FOR THE DISTRICT OF MASSACHUSETTS                 2   EXAMINATION                                  PAGE
   3                 MDL Docket No. 1629
                                                                3   DINO A. CROGNALE, MD
   4                 Master File No. 04-10981
                                                                4   BY MR. CHAFFIN                                       6
   5   ************************************
                                                                5   BY MR. FINKELSTEIN                                   174
   6   IN RE: NEURONTIN MARKETING, SALES
   7        PRACTICES AND PRODUCTS                              6   BY MR. CHAFFIN                                   222
   8        LIABILITY LITIGATION                                7
   9   ************************************                     8                   EXHIBITS
  10   THIS DOCUMENT RELATES TO:                                9   NO.            DESCRIPTION                       PAGE
  11   RONALD J. BULGER, SR., as Administrator
                                                               10   Ex. 1         Document Bates stamped BULG
  12   of the Estate of Susan Bulger, Deceased
                                                               11             00034 through 00110.............           4
  13   ************************************
  14        CONTAINS CONFIDENTIAL INFORMATION                  12   Ex. 2         Documents Bates stamped
  15          VIDEOTAPED DEPOSITION OF                         13             000376-28SPR-00003 through
  16          DINO A. CROGNALE, MD                             14             00376-28SPR-00123...............           4
  17                                                           15   Ex. 3         Document dated 10/29/07 with
  18                Held At:
                                                               16             attachments.....................   4
                  Hare & Chaffin
                                                               17   Ex. 4         Document dated 10/29/07 with
  19             160 Federal Street
              Boston, Massachusetts 02110                      18             attachments.....................   4
  20                                                           19   Ex. 5         Eight page document titled
                 March 25th, 2008                              20             Patient Chart: Vitals Problems
  21                10:24 AM                                   21             and Medications.................       4
  22
                                                               22   Ex. 6         Four page printout from US
       Reported By: Maureen O'Connor Pollard, RPR, CLR
                                                               23             Food and Drug Administration.... 208
  23
  24   Videographer: Shawn Budd                                24   Ex. 7         6/22/06 letter.................. 222



                                                         2                                                                             4

   1   APPEARANCES:                                             1           PROCEEDINGS
   2   FOR THE PLAINTIFF:                                       2
   3      BY: ANDREW G. FINKELSTEIN, ESQ.                       3           (Whereupon, Crognale Exhibit Numbers 1
   4          FINKELSTEIN & PARTNERS                            4           through 5 were marked for
   5          436 Robinson Avenue                               5           identification.)
   6          Newburgh, New York 12550                          6
   7          800-634-1212                                      7           (Attorney Finkelstein present via
   8          fink33@mac.com                                    8   speakerphone.)
   9                                                            9           THE VIDEOGRAPHER: Okay. We are on
  10   FOR THE DEFENDANTS:                                     10   the record.
  11      BY: DAVID B. CHAFFIN, ESQ.                           11           This is the video operator speaking,
  12          HARE & CHAFFIN                                   12   Shawn Budd. Today's date is March 25th, 2008,
  13          160 Federal Street                               13   and the time is 10:24.
  14          Boston, Massachusetts 02110                      14           We are here at the offices of Hare &
  15          617-330-5000                                     15   Chaffin located in Boston, Massachusetts to take
  16          dchaffin@hare-chaffin.com                        16   the videotaped deposition of Dr. Dino Crognale
  17                                                           17   in the matter of In Re: Neurontin Marketing,
  18   FOR THE DEPONENT:                                       18   Sales Practices and Products Liability
  19      BY: JAMES A. BELLO, ESQ.                             19   Litigation.
  20          MORRISON MAHONEY LLP                             20           Would counsel please introduce
  21          250 Summer Street                                21   themselves?
  22          Boston, Massachusetts 02210-1181                 22           MR. CHAFFIN: Thank you.
  23          617-737-8803                                     23           MR. FINKELSTEIN: Andrew Finkelstein,
  24          jbello@morrisonmahoney.com                       24   Finkelstein & Partners, on behalf of the




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                                    Page 1 - 4
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 3 of 15

                                                               Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          13                                                                 15

   1   medical education?                                         1      A. Ibuprofen.
   2      A. Yes.                                                 2      Q. Ibuprofen.
   3      Q. Have you ever taken any courses                      3         Have you ever been to any courses,
   4   related to suicide in connection with your CME             4   seminars involving Neurontin, or at which
   5   requirements or in any other context?                      5   Neurontin was discussed?
   6      A. Not specific courses. I have been to                 6         (Off the record discussion.)
   7   conferences where that's been a part of the                7         MR. CHAFFIN: We lost you for a few.
   8   course.                                                    8         MR. FINKELSTEIN: It's okay. You can
   9      Q. Any courses or conferences concerning                9   go on. I heard most of it.
  10   anti-convulsants?                                         10      A. Can you restate that question?
  11      A. Again, not specific courses, but parts              11         BY MR. CHAFFIN:
  12   of courses.                                               12      Q. Sure.
  13      Q. Parts of courses?                                   13         Did you ever attend any
  14      A. Yes.                                                14   courses/seminars at which Neurontin was
  15      Q. When was that?                                      15   discussed that you can recall?
  16      A. You know, I can't speak for sure                    16      A. I can't recall any specifically where
  17   what -- I don't remember a specific lecture at a          17   Neurontin was the focus. It may have been
  18   specific conference that I can say.                       18   mentioned in passing.
  19      Q. Do you have any specific memory of any              19      Q. Okay. Are you a member of any medical
  20   lectures at the suicide -- at the conference              20   societies or associations?
  21   that covered suicide, among other issues?                 21      A. No, I'm not.
  22      A. No.                                                 22      Q. Do you subscribe, or does your office
  23      Q. How about conferences or courses on                 23   subscribe to the New England Journal of
  24   neuropathic pain?                                         24   Medicine?



                                                          14                                                                 16

   1      A. No.                                                  1      A. Not currently.
   2      Q. Courses or conferences on chronic                    2      Q. The Journal of the American Medical
   3   pain?                                                      3   Association?
   4      A. Yes.                                                 4      A. No.
   5      Q. Do you have a recollection, when did                 5      Q. Any other journals?
   6   that occur, or can you describe it, please?                6      A. The Journal of -- I'm sorry, not
   7      A. I can -- it was at a Prime Ed                        7   journal. The American Family Physician.
   8   conference here in Boston, I don't know which              8      Q. Is that true throughout this decade?
   9   year, it was not this past one but one within              9      A. Yes.
  10   the recent past, and it was lecture on low back           10      Q. Does your office subscribe to any
  11   pain, management of low back pain.                        11   psychiatry or neurology journals?
  12      Q. Lower back pain?                                    12      A. No.
  13      A. Yes.                                                13      Q. What textbooks, if any, do you
  14      Q. Any discussion of any drug therapy?                 14   typically rely on?
  15      A. Yeah, there was.                                    15      A. Primarily Harrison's Internal
  16      Q. Any discussion of Neurontin?                        16   Medicine.
  17      A. I can't remember the specifics of what              17      Q. Do you subscribe to the PDR?
  18   drugs.                                                    18      A. Yes.
  19      Q. No recollection of any discussion of                19      Q. Personally, or the office?
  20   any particular drug?                                      20      A. The office.
  21      A. The only thing I can remember is                    21      Q. And do you review it when it comes out
  22   talking about over the counter medications like           22   for drugs you prescribe?
  23   Ibuprofen.                                                23      A. I review, I review drugs as they come
  24      Q. About what? I'm sorry.                              24   up.




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                         Page 13 - 16
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 4 of 15

                                                               Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          17                                                                      19

   1      Q. And what do you mean by "as they come                1      A. No.
   2   up"?                                                       2      Q. After you completed your residency,
   3      A. So if there are drugs that have a new                3   where did you go to work?
   4   indication or a new warning, then I'll review              4      A. I initially worked at Beverly
   5   those at that time. But I don't certainly read             5   Hospital's Family Practice Residency Program.
   6   the PDR from cover to cover.                               6      Q. And what years was that?
   7      Q. Each year?                                           7      A. That would have been 2000 to 2002.
   8      A. Each year.                                           8      Q. And then what employment did you have
   9      Q. It's a big book.                                     9   after that?
  10          Do you refer to it before you                      10      A. After that I started with Danvers
  11   prescribe a new drug that you haven't prescribed          11   Family Doctors.
  12   before?                                                   12      Q. In 2002?
  13      A. Yes.                                                13      A. I was trying to think of this this
  14      Q. Do you refer to it annually for drugs               14   morning. I think they started the practice in
  15   you prescribe on a regularly basis?                       15   October of 2002, but it could have been 2003. I
  16      A. No.                                                 16   couldn't really say.
  17      Q. No.                                                 17      Q. Is that the only employment you've had
  18          Do you consult with other physicians               18   since you started at Danvers Family Doctors?
  19   concerning drugs, about their risks and                   19      A. Yes.
  20   benefits?                                                 20      Q. Did you ever serve in the military?
  21      A. Yes.                                                21      A. No.
  22      Q. And who are they? What physicians?                  22      Q. Have you published any peer review
  23      A. Primarily my colleagues at the                      23   literature -- peer reviewed literature?
  24   practice. And occasionally if it's a specialty            24      A. No.



                                                          18                                                                      20

   1   medication then I'll consult, again usually not            1      Q. Ever been on an editorial board of any
   2   in a formal consultation, but verbal                       2   medical journal?
   3   consultation with one of my partners.                      3      A. No.
   4      Q. What do you mean by that, "a specialty               4      Q. Now, would you describe your practice
   5   drug"?                                                     5   in general terms, please, with particular
   6      A. So if I wanted to use one of the newer               6   attention to the period from 2002 or 3 when you
   7   antibiotics, let's say, I would talk to one of             7   joined Danvers Family Practice to the present,
   8   my infectious disease colleagues before                    8   please?
   9   prescribing that.                                          9      A. Okay. In the beginning of our
  10      Q. Someone out of your practice?                       10   practice I primarily worked in the office seeing
  11      A. Someone out of my practice, yeah.                   11   patients, and then with some hospital work when
  12      Q. How about, have you obtained                        12   patients of ours were admitted.
  13   information about drugs you prescribe regularly           13         Since the beginning of 2007, I have
  14   during any sorts of meetings or via handouts              14   worked in a different capacity again with
  15   that you can recall?                                      15   respect to going to Kenya, starting to
  16      A. Can you maybe rephrase that?                        16   transition my practice.
  17      Q. Yes.                                                17         Our practice also covers for an acute
  18          Do you have any specific recollection              18   rehabilitation hospital, and so I've taken over
  19   of receiving information about drugs you                  19   the work as the hospitalist on that floor.
  20   prescribe on a regular basis at meetings, other           20      Q. And what hospital is that, the acute
  21   than the ones you've already described?                   21   rehab hospital?
  22      A. Yes.                                                22      A. It's New England Rehabilitation
  23      Q. Any memory of anything like that                    23   Hospital at Danvers.
  24   concerning Neurontin?                                     24      Q. When did you take on that duty?




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                              Page 17 - 20
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 5 of 15

                                                               Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          37                                                                      39

   1      Q. Do you use informed consent forms?                   1      Q. Dear Doctor letters?
   2      A. Not generally for all prescribing.                   2      A. I'm sorry, what's a Dear Doctor
   3      Q. When you -- do you have a regular                    3   letter?
   4   practice with your patients when you're                    4      Q. A letter from a drug company
   5   prescribing them a new prescription drug with              5   concerning updated information on a drug? Are
   6   side effects of discussing with them all of the            6   you familiar with those?
   7   potential side effects that are listed in the              7      A. Can you clarify what that --
   8   PDR, for example?                                          8         MR. BELLO: Can you just repeat the
   9            MR. BELLO: Objection.                             9   question?
  10            You may answer.                                  10         BY MR. CHAFFIN:
  11      A. I -- my practice is to pick a handful               11      Q. Sure.
  12   of the most common side effects that are listed           12         Do you consider Dear Doctor letters,
  13   in the PDR, or ones that are specifically                 13   i.e. doctors -- letters from drug companies
  14   relevant to them.                                         14   concerning updated information on a drug?
  15            BY MR. CHAFFIN:                                  15      A. Only those that are talking about a
  16      Q. Okay. And you discuss those with the                16   new specific piece of information like a new
  17   patient?                                                  17   warning or a new side effect or something.
  18      A. Yes.                                                18      Q. And do you consider information you've
  19      Q. But not all the side effects or risks               19   received from colleagues about their experiences
  20   that are listed?                                          20   with drugs?
  21      A. No.                                                 21      A. Yes.
  22      Q. And why is that, that you deal with                 22      Q. Do you consider published literature?
  23   just a handful?                                           23      A. Yes.
  24      A. Primarily because what we know about                24      Q. Do you consider what you've learned at



                                                          38                                                                      40

   1   patient's comprehension is they're only likely             1   seminars or conferences?
   2   to remember three or four things that you tell             2      A. Yes.
   3   them in an encounter.                                      3      Q. And your own experiences with the
   4      Q. Do you have a -- is it your general                  4   drugs, you consider that as well, right?
   5   practice that when you prescribe a drug you                5      A. Yes.
   6   analyze the available information concerning the           6      Q. Anything else that you take into
   7   drug and do a cost/benefit analysis to determine           7   account when you do the risk/benefit analysis?
   8   whether the potential benefit outweighs the                8         MR. CHAFFIN: I thank you, again,
   9   risks?                                                     9   Mr. Finkelstein for the correction.
  10      A. Yes.                                                10      A. The patient's record, the patient's
  11            MR. FINKELSTEIN: Objection to form.              11   own history.
  12            David, you said a cost/benefit. I                12         BY MR. CHAFFIN:
  13   think you meant to say a risk/benefit?                    13      Q. Is it fair to say that you only will
  14            MR. CHAFFIN: Thank you, Andrew.                  14   prescribe a drug for a patient when you've
  15            BY MR. CHAFFIN:                                  15   satisfied yourself that the potential benefits
  16      Q. Let me rephrase the question.                       16   of the drug outweigh the potential risks?
  17            Do you do a risk/benefit analysis,               17      A. Yes.
  18   Doctor? Is that your general practice?                    18         MR. BELLO: Note my objection.
  19      A. Yes.                                                19         BY MR. CHAFFIN:
  20      Q. Yes.                                                20      Q. And if that balance changes, i.e. it's
  21            Now, the information that you consider           21   appearing that the risks are becoming greater
  22   when you're doing that risk/benefit analysis              22   than the potential benefits or the benefits, you
  23   include the information in the PDR?                       23   just take the patient off the drug?
  24      A. Yes.                                                24         MR. BELLO: Objection as well.




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                              Page 37 - 40
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 6 of 15

                                                               Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          65                                                                     67

   1      A. Yes.                                                 1   you treating her?
   2      Q. Did you look at Dr. Mengel's records                 2      A. Based on this record, it was
   3   of his treatment of Mrs. Bulger in preparation             3   rheumatoid arthritis and chronic pain.
   4   for the deposition today, the pages in this 1 to           4      Q. And what was the source of the chronic
   5   76?                                                        5   pain?
   6      A. Yes.                                                 6      A. Her rheumatoid arthritis.
   7      Q. You did. Okay.                                       7      Q. For how long did you treat her, if you
   8           And you notice that Dr. Mengel's                   8   know?
   9   entries are --                                             9      A. From this point to 2003 when she left
  10           MR. CHAFFIN: Give me one second,                  10   our practice.
  11   Andrew, please. I'm just trying to find the               11      Q. Did you treat her for the rheumatoid
  12   start point --                                            12   arthritis and the chronic pain for that entire
  13           MR. FINKELSTEIN: No problem.                      13   three-year period?
  14           MR. CHAFFIN: -- for Dr. Crognale.                 14      A. Yes.
  15           MR. BELLO: Are you looking for a                  15      Q. It never resolved?
  16   date?                                                     16      A. No.
  17           MR. CHAFFIN: I'm looking for a page               17      Q. Any other conditions, if you can
  18   actually.                                                 18   recall offhand without looking at the record,
  19           BY MR. CHAFFIN:                                   19   for which you treated her?
  20      Q. Doctor, if you turn to Page 58. Let's               20      A. Depression.
  21   look at 57 to 58 in this record.                          21      Q. I'm sorry? Depression?
  22           MR. BELLO: I don't have a copy of                 22      A. Depression, anxiety.
  23   what he has.                                              23      Q. Anxiety.
  24           MR. CHAFFIN: I'll give you one.                   24           And can you tell me, what was your



                                                          66                                                                     68

   1           MR. BELLO: Do you have one?                        1   general practice in how you prepared these visit
   2           MR. CHAFFIN: I do. Sure. Here you                  2   notes?
   3   go (handing).                                              3      A. How they were prepared?
   4           MR. BELLO: Thanks.                                 4      Q. Yes.
   5           BY MR. CHAFFIN:                                    5      A. I'm sorry.
   6      Q. And you know what numbers I'm looking                6      Q. How these came to be generated. Did
   7   at, the upper right-hand side, Doctor?                     7   you dictate them? Did you sit at a computer?
   8      A. Yes, I do, yes.                                      8      A. Oh, yes, yes. So during the patient
   9      Q. Okay. If you look at 57 and 58,                      9   visit I would take notes, and from those notes I
  10   you'll notice on the bottom of 58 Dr. Mengel is           10   would dictate, and then they're transcribed
  11   shown as the cosignatory on the prescription?             11   within our office.
  12      A. I see that.                                         12      Q. You had office personnel who would
  13      Q. All right. And on 57 you signed a                   13   transcribe from the dictation?
  14   visit note.                                               14      A. Correct.
  15           Would that appear that you began                  15      Q. And would you -- did you have a
  16   treating --                                               16   regular practice with respect to how long after
  17      A. It would appear that way, yes.                      17   a visit you would dictate the notes?
  18      Q. And what would be the date when you                 18      A. As soon as could be. Yeah, not at --
  19   began treating her, based on this record?                 19   it was usually within the day or two.
  20      A. Based on this record, it looks like                 20      Q. Okay. And what type of information
  21   9/8/2000.                                                 21   did you take down when you were making notes and
  22      Q. 9/8/2000?                                           22   then dictating those notes, general practice?
  23      A. Yes.                                                23      A. My general practice is to find out
  24      Q. Based on this record, for what were                 24   from the patient how they feel that they're




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                             Page 65 - 68
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 7 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          157                                                                   159

   1      Q. And then "2. Will fill out prior                      1   refill?
   2   authorization for Neurontin 300 milligram 3 tab             2       A. Correct.
   3   PO BID, which is helping her significantly                  3       Q. Again at one milligram? She's gone
   4   regarding both her affective disorder and her               4   up?
   5   pain syndrome."                                             5       A. Right.
   6         You wrote that?                                       6       Q. And then at the top there's an
   7      A. Yes.                                                  7   OxyContin refill?
   8      Q. And what was the basis for your                       8       A. Correct.
   9   writing that the Neurontin was helping her                  9       Q. Is that at the higher dosage that you
  10   significantly regarding both her affective                 10   had approved previously?
  11   disorder and her pain syndrome?                            11       A. Yes. This is from that other note,
  12      A. It's not stated specifically here, but               12   yes.
  13   from the reading of the note, the fact that she            13       Q. Right.
  14   had come off the medication and was doing worse            14             And then this is the Lexapro that you
  15   is an indicator that perhaps it was helping.               15   had prescribed for her not all that long before
  16   Based on notes that we've already gone through,            16   this, right?
  17   it looked like she was having positive affects             17       A. Which was, it looks like, also
  18   on things that would be considered either                  18   increased.
  19   affective symptoms or pain symptoms.                       19       Q. Okay. Let's go to, please, Page 3 on
  20      Q. Okay. When you used the phrase                       20   the bottom, this is another Klonopin refill,
  21   "affective disorder" in paragraph two here on              21   correct?
  22   this Page 6, what were you referring to                    22       A. Correct.
  23   specifically?                                              23       Q. And then Pages 2 to 3, your notes on
  24      A. That refers to her anxiety and                       24   8/11 --



                                                          158                                                                   160

   1   depression.                                                 1       A. Right.
   2      Q. Her --                                                2       Q. -- 03.
   3      A. Anxiety and depression.                               3             Taking a look at your records, this is
   4      Q. So it was your view at this point in                  4   your last appointment with Mrs. Bulger?
   5   time that the Neurontin was affecting both her              5       A. It appears to be.
   6   anxiety -- was affecting her anxiety, depression            6       Q. And then after that you refill some
   7   and pain, helping her?                                      7   medications, but no other appointments?
   8      A. Yes.                                                  8       A. That's right.
   9      Q. Page 5. On the bottom there, are                      9       Q. And specifically if we look at Pages 1
  10   these some office notes concerning attempts to             10   and 2, you refilled -- you gave her Valium on
  11   get approval for Neurontin?                                11   August 28 of '03, is that right?
  12      A. Correct.                                             12       A. Yes.
  13      Q. And then on the top of five is renewal               13       Q. And there was a switch from Klonopin
  14   of Klonopin?                                               14   to Diazepam?
  15      A. Correct.                                             15       A. Correct.
  16      Q. Right?                                               16       Q. And there's a note on Zantac on
  17         And that's one milligram?                            17   August 14th?
  18      A. Correct.                                             18       A. Right.
  19      Q. Had she gone up on the Klonopin?                     19       Q. And in the middle of Page 2 -- or the
  20      A. Yes, she had.                                        20   top of 2 there's a Zantac prescription?
  21      Q. Next page, OxyContin refill on the                   21       A. Correct.
  22   bottom, on June 16th, is that what that is?                22       Q. And in the middle of 2 there's
  23      A. Correct.                                             23   pre-authorizations for Neurontin and Prilosec?
  24      Q. And then in the middle is Klonopin                   24       A. Correct.




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                           Page 157 - 160
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 8 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          165                                                                   167

   1      A. Yeah, I mean it's a complicated                       1   receiving any information directly from any
   2   answer.                                                     2   representative of Warner-Lambert, Parke-Davis or
   3         BY MR. CHAFFIN:                                       3   Pfizer about Neurontin?
   4      Q. What are the risks of untreated                       4      A. Yes.
   5   depression?                                                 5      Q. Could you describe what the
   6      A. Further depression. It's not simple.                  6   information was and how you got it?
   7   It's not a simple answer.                                   7      A. The only recollection I have of any
   8      Q. How about untreated anxiety?                          8   information from a drug representative directly
   9      A. Again, it's speculative to say what                   9   is in a conversation with a drug rep who
  10   the outcome would be.                                      10   mentioned that the side effect of sedation
  11      Q. And for Mrs. Bulger's chronic pain,                  11   improves with increasing doses.
  12   the medications you gave her were OxyContin and            12      Q. I'm sorry, that what?
  13   Neurontin?                                                 13      A. That the side effect of sedation that
  14      A. Correct.                                             14   comes with Neurontin improves with increasing
  15      Q. Any others?                                          15   doses.
  16      A. Not that I can see from the record.                  16      Q. So, in other words, the more you take
  17      Q. Can you tell from your record, was                   17   the less you're sedated?
  18   part of your purpose in prescribing Neurontin to           18      A. Yes.
  19   address her depression?                                    19      Q. The less you're sedated or the more
  20      A. No.                                                  20   you're sedated?
  21      Q. No.                                                  21      A. The less you're sedated.
  22         As between OxyContin and Neurontin,                  22      Q. I'm sorry?
  23   which one has more side effects?                           23      A. The less you're sedated.
  24         MR. FINKELSTEIN: Objection.                          24      Q. When was that?



                                                          166                                                                   168

   1         If you're qualified to answer.                        1      A. I couldn't pinpoint that specifically.
   2         MR. BELLO: I was going to object. If                  2      Q. Where?
   3   you can answer the question.                                3      A. It would have been in my office.
   4      A. I don't think I'm qualified to answer.                4      Q. What was the rep's name, do you know?
   5         BY MR. CHAFFIN:                                       5      A. No, I have no idea. Sorry.
   6      Q. Does OxyContin have the potential for                 6      Q. Man or woman?
   7   liver damage, do you know?                                  7      A. It was a man.
   8      A. Not that I'm aware of.                                8      Q. I'm sorry, did I ask you this; when
   9      Q. It's highly addictive, though?                        9   did this take place?
  10      A. Yes, it is.                                          10      A. I don't know.
  11      Q. Had you prescribed Neurontin for other               11      Q. Pfizer rep or a Parke-Davis rep?
  12   patients before you started giving Mrs. Bulger             12      A. I have no idea. I had no idea who
  13   Neurontin for her chronic pain?                            13   made this medicine until this.
  14         MR. FINKELSTEIN: Objection.                          14      Q. And what caused you to be inquiring
  15      A. I can't say. I can't say for sure.                   15   about this?
  16         BY MR. CHAFFIN:                                      16      A. I wasn't inquiring.
  17      Q. Not sure?                                            17         MR. FINKELSTEIN: Objection.
  18      A. Not sure.                                            18         MR. BELLO: Objection.
  19      Q. But you've done it since?                            19         Go ahead. You can answer.
  20      A. Yes.                                                 20         MR. FINKELSTEIN: I still don't know
  21      Q. Any other memory of why you decided to               21   that he was inquiring. That's the basis of my
  22   put Mrs. Bulger on Neurontin?                              22   objection.
  23      A. No.                                                  23      A. Yes.
  24      Q. Did you receive -- do you recall                     24         MR. CHAFFIN: Since you're unanimous




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                           Page 165 - 168
  Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 9 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          169                                                                   171

   1   on it, I'll fix it, including the witness.                  1   with anyone else in your office about this
   2          BY MR. CHAFFIN:                                      2   meeting with the representative?
   3      Q. Can you describe the exchange with me,                3      A. No.
   4   if you would, please?                                       4      Q. No?
   5      A. The exchange would have been in                       5      A. No.
   6   context of the representative telling us about              6      Q. Okay. Now, your dosing decision with
   7   the medication, and in discussion of side                   7   respect to Mrs. Bulger and Neurontin, was that
   8   effects making an emphasis that this was one                8   based on what this Pfizer sales rep told you?
   9   side effect that improved counter-intuitively               9      A. No.
  10   with dose.                                                 10      Q. Do you make prescribing decisions
  11      Q. Can you remember, I mean the rep -- to               11   based on what drug company sales representatives
  12   whom was the rep talking at the time?                      12   tell you?
  13      A. It would have been to me and some                    13      A. No.
  14   number of people from my office. I can't tell              14      Q. Why?
  15   you exactly.                                               15      A. Because I don't think they have the
  16      Q. You don't know who else was there?                   16   medical knowledge to make that -- decisions made
  17      A. I cannot tell you that for sure.                     17   medically are not simply about pharmacokinetics,
  18      Q. Any discussion about any other side                  18   they're about patients, and so I don't think
  19   effects or uses or anything of that nature?                19   that I can be directed by somebody that only
  20      A. I'm sure there were, but the only                    20   knows the pharmacology of the medication.
  21   recollection I have of the entire conversation             21      Q. Did you ever meet any medical liaisons
  22   is that statement.                                         22   from Warner-Lambert?
  23      Q. Is that the more you took, the less                  23      A. Can you tell me what that means?
  24   sleepy it was going to make you?                           24      Q. Okay.



                                                          170                                                                   172

   1      A. That's right.                                         1      A. Medical liaison?
   2      Q. Do you remember for what indication --                2      Q. You've answered my question.
   3   do you remember what indication was being                   3            Do you know what a medical liaison is?
   4   discussed at the time?                                      4      A. No, I'm not sure I do.
   5      A. No, I do not.                                         5      Q. Okay. Good.
   6      Q. Again, I'm sorry --                                   6            Other than sales representatives or
   7      A. That's okay.                                          7   detailers --
   8      Q. -- a year, two years, several years                   8      A. No.
   9   ago?                                                        9      Q. -- for Pfizer?
  10      A. I can say it was within the last five                10      A. For Neurontin, no.
  11   years, but I can't be sure any more than that.             11      Q. Okay.
  12      Q. Okay. Is that the only contact you                   12            MR. CHAFFIN: You need to change,
  13   can recall with any representative of                      13   right?
  14   Parke-Davis, Warner-Lambert or Pfizer concerning           14            THE VIDEOGRAPHER: Yes.
  15   Neurontin?                                                 15            MR. CHAFFIN: Okay. Let's take a
  16      A. That's my only specific recollection.                16   couple minute break if that's okay.
  17      Q. Okay. And you're sure it was                         17      A. That's fine.
  18   Neurontin and not Lyrica?                                  18            THE VIDEOGRAPHER: This is the end of
  19      A. No, I'm sure it was Neurontin.                       19   tape number two. The time is five minutes after
  20      Q. Okay. How long did this meeting with                 20   two. We are off the record.
  21   this representative take?                                  21            (Whereupon, a recess was taken.)
  22      A. They probably would have been in the                 22            THE VIDEOGRAPHER: Okay. We are back
  23   office for 20 minutes to a half hour total.                23   on the record. This is tape number three. The
  24      Q. Have you had any recent discussions                  24   time is 2:13.




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                           Page 169 - 172
 Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 10 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          177                                                                179

   1      Q. Did the Pfizer rep who came to visit                  1         MR. CHAFFIN: Objection.
   2   you tell you that they were under investigation             2      A. No.
   3   related to their sales practices of Neurontin?              3         BY MR. FINKELSTEIN:
   4      A. No.                                                   4      Q. And how often do the drug reps come in
   5          MR. CHAFFIN: Objection.                              5   and out of your office?
   6          BY MR. FINKELSTEIN:                                  6      A. Roughly once a week.
   7      Q. I want to see -- I appreciate you said                7      Q. And from Pfizer, how many times do
   8   you don't have a specific memory of that visit              8   they come in and out of your office?
   9   by the Pfizer sales rep.                                    9      A. No idea. I really don't pay attention
  10      A. Right.                                               10   to who makes what drug.
  11      Q. I just want to try and hone it down a                11      Q. Do you know if the Pfizer drug rep
  12   little bit if we can.                                      12   left any samples of Neurontin?
  13      A. Sure.                                                13      A. I don't.
  14      Q. Do you know what time of year it was?                14      Q. Do you have a protocol within your
  15   I don't want you to guess if you don't know.               15   office regarding samples?
  16      A. I just don't know. Sorry.                            16      A. Yes.
  17      Q. Fine.                                                17      Q. What is that?
  18          Prior to that visit, had you ever                   18      A. We accept samples, they're logged into
  19   prescribed Neurontin?                                      19   a book, and then if samples are given they are
  20      A. I can't say for sure.                                20   logged into the chart as well.
  21      Q. But you're certain that it was a man                 21      Q. And based on your reading of the
  22   who made the visit?                                        22   Bulger chart, was she provided any samples?
  23      A. Yes.                                                 23      A. No.
  24      Q. And if I have records from the                       24      Q. Are you the only one -- or is the



                                                          178                                                                180

   1   individual who paid that visit, would you                   1   physician the only one who gives samples to
   2   challenge the date?                                         2   patients?
   3          MR. CHAFFIN: Objection.                              3      A. Physician or nurse practitioner, yes.
   4          MR. BELLO: Object as well.                           4      Q. And the nurse practitioner always logs
   5          Go ahead. You can answer.                            5   it into the chart?
   6      A. Yes, yes.                                             6      A. Yes.
   7          BY MR. FINKELSTEIN:                                  7      Q. I'd like to know if you knew this. Do
   8      Q. You would challenge the date?                         8   you know what a medical review officer for the
   9          MR. CHAFFIN: Objection.                              9   FDA is?
  10      A. Yes.                                                 10      A. No.
  11          BY MR. FINKELSTEIN:                                 11      Q. Do you know how the FDA approves
  12      Q. Okay.                                                12   drugs?
  13      A. Can I explain why?                                   13      A. No.
  14      Q. Sure.                                                14      Q. When you decided to prescribe
  15      A. I would say that drug reps come in and               15   Neurontin for the very first time, what was the
  16   out of our office on a routine basis, and so I             16   foundation with which you prescribed it?
  17   could not -- if you gave me two dates within two           17      A. It would have been, just speaking from
  18   years, I couldn't pick one for sure, so that's             18   my general practice, not from a specific
  19   why I would contest it.                                    19   instance, it would have been primarily after
  20      Q. But if the drug rep writes down "today               20   discussion with colleagues, review of some early
  21   I met with Dr. Crognale --"                                21   literature, and basis that again the risk versus
  22      A. Yes, Crognale.                                       22   benefit was more towards the evidence of
  23      Q. "-- and we discussed Neurontin," would               23   benefit.
  24   you challenge that?                                        24      Q. The colleagues --




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                        Page 177 - 180
 Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 11 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          181                                                                  183

   1      A. Yes.                                                  1   of them that you relied upon?
   2      Q. -- now I'm asking specifically related                2      A. No.
   3   to Neurontin --                                             3      Q. Do you know any of the articles that
   4      A. Yes.                                                  4   they were published in -- I'm sorry, the
   5      Q. -- were there colleagues that you                     5   journals that they were published in?
   6   spoke to specifically that felt Neurontin was               6      A. Not the journals, no.
   7   appropriate for the treatment of pain?                      7      Q. Do you have a record of any of those?
   8      A. Specific colleagues, no.                              8   Do you maintain them anywhere?
   9      Q. In general amongst --                                 9      A. No, I don't. I don't have a specific
  10      A. It would have been either in the                     10   file, no, I do not.
  11   setting of symposium -- I'm sure that there were           11      Q. If I asked -- I just want to know if
  12   conversations with specific colleagues that I              12   you're capable of doing this, I'm not asking you
  13   can't recollect, but that I would have said, you           13   to do it.
  14   know, "what's your experience with this? I                 14      A. Sure.
  15   heard this, what's your experience?" That's how            15      Q. If I asked you could you go back to
  16   I practice.                                                16   your office and find the articles that laid the
  17      Q. Based on anecdotal reports?                          17   foundation for you to prescribe Neurontin, would
  18      A. In conjunction with more, you know,                  18   you be able to do that?
  19   maybe not randomized control trials because                19      A. No, I could not.
  20   there isn't always that, but there are some                20      Q. And why is that?
  21   studies with small results that may be                     21      A. Why is that?
  22   applicable.                                                22      Q. Yeah. Do you throw the journals away?
  23      Q. And do you recall any of the studies                 23   Do you not maintain them?
  24   that you've relied upon to prescribe Neurontin             24      A. Generally once I have looked over an



                                                          182                                                                  184

   1   for pain?                                                   1   article I generally discard it, unless it's
   2      A. No, not specifically.                                 2   highly relevant to my practice.
   3      Q. Are you aware of any that exist,                      3      Q. And the physicians that you discussed,
   4   randomized control trials?                                  4   whether it be at symposiums or outside the
   5      A. No, I am not.                                         5   symposiums, regarding the efficacy of Neurontin
   6      Q. So if no randomized control trials                    6   and its treatment of pain, can you name any of
   7   existed for Neurontin in treatment for pain, was            7   them?
   8   the basis of your prescribing of Neurontin based            8      A. No, I cannot.
   9   on your communication with the medical                      9      Q. Would you say it's your opinion was
  10   community?                                                 10   formed on the basic general medical community's
  11          MR. CHAFFIN: Objection.                             11   opinion of Neurontin and its treatment of pain?
  12          MR. BELLO: Objection.                               12          MR. CHAFFIN: Objection.
  13          You may answer.                                     13          MR. BELLO: Objection.
  14      A. In part. Again, there are                            14          You may answer.
  15   non-randomized control studies that, yes, are              15      A. I would say yes, with supplementation
  16   not the gold standard, but do have some impact             16   from small report data.
  17   on how we prescribe.                                       17          BY MR. FINKELSTEIN:
  18          BY MR. FINKELSTEIN:                                 18      Q. Do you know if any of the report data
  19      Q. And do you know of any non-randomized                19   that you relied upon, the non-gold standard
  20   control trials that provided you a foundation to           20   trials, do you know if Pfizer, Parke-Davis or
  21   prescribe Neurontin?                                       21   Warner-Lambert sponsored any of them?
  22      A. I can't quote them off the top of my                 22      A. I cannot say that for sure.
  23   head. I know that they are in existence.                   23      Q. Is that information that's important
  24      Q. Do you know any of the authors of any                24   for you to know, who sponsors a trial when you




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                          Page 181 - 184
 Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 12 of 15

                                                              Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                        185                                                                   187

   1   read it?                                                  1      A. Family Practice Residency Program.
   2           MR. CHAFFIN: Objection.                           2      Q. Beverly Family Practice Residency
   3      A. It is important.                                    3   Program?
   4           BY MR. FINKELSTEIN:                               4      A. Yes.
   5      Q. Why is it important?                                5      Q. While it was the Beverly Family
   6      A. Because it helps you to decide whether              6   Practice Residency Program, was there any
   7   or not there is some bias to the data.                    7   prohibition on receiving sales calls from
   8      Q. The journal articles that you read                  8   pharmaceutical reps?
   9   related to Neurontin and treatment of pain, do            9      A. Yes. We did not receive, during the
  10   you have any recollection as to whether or not           10   period of being a residency we did not receive
  11   Pfizer sponsored any of it?                              11   in-office any pharmaceutical reps.
  12      A. I do not know.                                     12      Q. Did you receive any outside of the
  13           MR. CHAFFIN: Objection.                          13   office?
  14           BY MR. FINKELSTEIN:                              14      A. There were allowed at the hospital.
  15      Q. If they did sponsor any of it, would               15      Q. And did you personally receive any
  16   you have taken note of it?                               16   information from pharmaceutical reps?
  17           MR. CHAFFIN: Objection.                          17      A. I'm sure over the years I did, but I
  18           MR. BELLO: Objection.                            18   can't -- not a specific instance I can
  19      A. Yes.                                               19   recollect.
  20           BY MR. FINKELSTEIN:                              20      Q. Do you know if you received any
  21      Q. How many doctors are in your practice?             21   information from any pharmaceutical rep related
  22      A. Four.                                              22   to Neurontin?
  23      Q. And how many doctors were in your                  23      A. Other than the incident that I already
  24   practice in 2000?                                        24   related, no.



                                                        186                                                                   188

   1      A. That's a good question. There were                  1      Q. At any time did any pharmaceutical rep
   2   many, because we were at that time a residency            2   offer to take you out to dinner?
   3   practice, and so I can't tell you exactly how             3           MR. CHAFFIN: Objection.
   4   many faculty we had and how many residents at             4      A. Any pharmaceutical rep?
   5   the time.                                                 5           BY MR. FINKELSTEIN:
   6      Q. When did you graduate medical school?               6      Q. Any pharmaceutical rep.
   7      A. Graduate medical school?                            7      A. Yes.
   8      Q. Mm-hmm.                                             8      Q. And did you ever go?
   9      A. In 1997.                                            9      A. Not at that type of an invitation, no.
  10      Q. When did you complete your residency?              10      Q. Did any pharmaceutical company ever
  11      A. 2000.                                              11   compensate you for attending a symposium?
  12      Q. And after you completed your                       12      A. Define compensation.
  13   residency, where was your first place of                 13      Q. Provide something of monetary value to
  14   employment?                                              14   you.
  15      A. As a faculty member at Beverly                     15      A. Yes, yes. Primarily it would be a
  16   Hospital Family Practice Residency.                      16   dinner at the symposium, but nothing beyond
  17      Q. And did there come a time that that                17   that.
  18   transitioned to the private practice?                    18      Q. Okay. And which pharmaceutical
  19      A. That's correct.                                    19   company?
  20      Q. And when was that?                                 20      A. I have no idea. I really have no
  21      A. That's -- I'm unsure if it was 2002 or             21   idea.
  22   2003.                                                    22      Q. Fair enough.
  23      Q. While it was Beverly medical                       23           Do you know what symposiums?
  24   facility -- what's the name of it?                       24      A. No. Periodically there are dinners at




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                         Page 185 - 188
 Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 13 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          189                                                                     191

   1   various restaurants in our area, and up until a             1   Neurontin," and that she said "third, is that
   2   few years ago we would periodically attend.                 2   depression, while it may not be an infrequent
   3      Q. And at those dinners, what would                      3   occurrence in the epileptic population, may
   4   transpire?                                                  4   become worse and require intervention or lead to
   5      A. Generally there would be a speaker who                5   suicide as it has led -- as it has resulted in
   6   presented data about something. It was usually              6   some suicidal attempts"? Did you know that?
   7   problem-based rather than drug-based, and of                7          MR. CHAFFIN: Objection.
   8   course, you know, they were sponsored by the                8          MR. BELLO: Objection.
   9   representative and, of course, would mention the            9      A. I did not know that.
  10   drug, but usually pretty fairly with other                 10          BY MR. FINKELSTEIN:
  11   medications.                                               11      Q. Would you have liked to have known
  12      Q. Were there any symposiums, or what                   12   that there were suicidal attempts in the
  13   you're describing these dinners with the                   13   clinical trials of Neurontin?
  14   speaker, any of them related to the treatment of           14          MR. CHAFFIN: Objection.
  15   pain?                                                      15          MR. BELLO: Objection as well.
  16      A. No.                                                  16          You may answer.
  17      Q. Any of them related to psychiatric                   17      A. That would have been helpful.
  18   treatment?                                                 18          BY MR. FINKELSTEIN:
  19      A. No.                                                  19      Q. Do you know whether or not Neurontin
  20      Q. Was Neurontin discussed at any of                    20   is associated with increasing depression?
  21   them?                                                      21      A. I'm not aware of that.
  22      A. Not that I recollect.                                22      Q. Do you know what monoamines are?
  23      Q. Do you know who Cynthia McCormick is?                23      A. Monoamines? Yes.
  24      A. No, I do not.                                        24      Q. What are monoamines?



                                                          190                                                                     192

   1      Q. Do you know what a medical officer at                 1      A. Monoamines -- well, I don't actually.
   2   the FDA does?                                               2   I guess I know in general that they're a
   3           MR. CHAFFIN: Objection.                             3   biochemical substance. I couldn't draw the
   4      A. No, I do not.                                         4   structure for you.
   5           BY MR. FINKELSTEIN:                                 5      Q. Do you know what neurotransmitters
   6      Q. Do you know what a clinical medical                   6   are?
   7   review pre-approval is at the FDA?                          7      A. I do.
   8      A. No.                                                   8      Q. Do you know what Norepinephrine is?
   9      Q. Did you know that prior to approval                   9      A. Yes.
  10   Parke-Davis, who was the sponsor of Neurontin,             10      Q. Do you know what serotonin is?
  11   submitted clinical trials to the FDA seeking               11      A. Yes.
  12   approval?                                                  12      Q. Are they monoamines?
  13      A. I didn't know that, but I generally                  13          MR. CHAFFIN: Objection.
  14   assume most drug companies have to do that.                14      A. I don't think so. I can't tell you
  15      Q. Did you know that a medical officer                  15   for sure.
  16   from the FDA reviewed the totality of the Pfizer           16          BY MR. FINKELSTEIN:
  17   submitted data prior to approval?                          17      Q. Okay. I'm not looking to quiz you.
  18           MR. CHAFFIN: Objection.                            18      A. I don't believe they are.
  19      A. I did not know that.                                 19      Q. What do you believe serotonin is?
  20           BY MR. FINKELSTEIN:                                20          MR. BELLO: Sounds like a quiz.
  21      Q. Did you know that the medical officer                21      A. What do I believe serotonin is?
  22   who reviewed the Parke-Davis submitted data                22          BY MR. FINKELSTEIN:
  23   wrote that "less common but more serious events            23      Q. Yes.
  24   may limit the widespread usefulness of                     24      A. It's a biochemical neuro and other




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                             Page 189 - 192
 Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 14 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          193                                                                  195

   1   hormone -- hormonal transmitter.                            1   serotonin has affect on mood and behavior?
   2      Q. Do you believe reduced serotonin is                   2           MR. CHAFFIN: Objection.
   3   associated with depression?                                 3           MR. BELLO: Objection as well.
   4           MR. CHAFFIN: Objection.                             4      A. I don't.
   5      A. I think that there is evidence to that                5           BY MR. FINKELSTEIN:
   6   effect, yes.                                                6      Q. Do you know whether somebody who has
   7           BY MR. FINKELSTEIN:                                 7   low serotonin is at greater risk of suicidality?
   8      Q. And do you believe that increasing                    8           MR. BELLO: Objection.
   9   serotonin improves depression?                              9           MR. CHAFFIN: Objection.
  10           MR. CHAFFIN: Objection.                            10      A. I do not know that.
  11      A. I do.                                                11           BY MR. FINKELSTEIN:
  12           BY MR. FINKELSTEIN:                                12      Q. When you prescribe a medication, do
  13      Q. Is that the basic tenets of SSRI                     13   you want to know what the affect that medication
  14   medications?                                               14   has on the neurochemistry?
  15      A. Yes, it is.                                          15      A. I do.
  16      Q. And rather than me say it, can you                   16      Q. And if Neurontin is known to deplete
  17   tell me when you prescribe an SS -- first, what            17   serotonin, is that something you would want to
  18   is an SSRI?                                                18   know?
  19      A. A selective serotonin re-uptake                      19           MR. CHAFFIN: Objection.
  20   inhibitor.                                                 20           MR. BELLO: Objection.
  21      Q. And that class of drugs is considered                21      A. Yes.
  22   what?                                                      22           BY MR. FINKELSTEIN:
  23           MR. CHAFFIN: Objection.                            23      Q. And why would you want to know that?
  24      A. Primarily anti-depressant or                         24           MR. CHAFFIN: Objection.



                                                          194                                                                  196

   1   anti-anxiety.                                               1      A. Because although I may not be able to
   2           BY MR. FINKELSTEIN:                                 2   tell you exactly what the molecule is, the
   3      Q. And a selective serotonin re-uptake                   3   biochemistry does make a difference in how it
   4   inhibitor, when you prescribe that, is it your              4   will affect people, and so I would want to know
   5   goal to alter the brain chemistry in some way?              5   that, and interactions with other medications as
   6           MR. CHAFFIN: Objection.                             6   well.
   7      A. It is.                                                7           BY MR. FINKELSTEIN:
   8           BY MR. FINKELSTEIN:                                 8      Q. Well, what's your expectation if a
   9      Q. And that alteration of the brain                      9   pharmacological agent depletes serotonin, what
  10   chemistry is to do what?                                   10   effect would that have?
  11      A. Is to improve function.                              11           MR. CHAFFIN: Objection.
  12      Q. Well, improve function. But what                     12           MR. BELLO: Objection.
  13   specifically is the alteration you're hoping to            13      A. I can't predict that.
  14   achieve?                                                   14           BY MR. FINKELSTEIN:
  15      A. The alteration we're trying to achieve               15      Q. Can you predict what a pharmacological
  16   is the increase of serotonin at the neurofibers.           16   agent if it increases serotonin --
  17      Q. And by increasing serotonin in what                  17           MR. CHAFFIN: Objection.
  18   you describe as the neurofibers, what's the                18           BY MR. FINKELSTEIN:
  19   affect you hope to obtain?                                 19      Q. -- what's your expectation?
  20           MR. CHAFFIN: Objection.                            20      A. My expectation based on studies on
  21      A. The affect is a decrease in symptoms,                21   SSRIs is that will improve depression and
  22   whether anxiety or depression.                             22   anxiety.
  23           BY MR. FINKELSTEIN:                                23      Q. What does treatment emergent affect
  24      Q. And do you know whether depleting                    24   mean?




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                          Page 193 - 196
 Case 1:04-cv-10981-PBS Document 1675-11 Filed 02/23/09 Page 15 of 15

                                                                Crognale, Dino MD (Bulger) 3/25/2008 10:24:00 AM
                                                          197                                                                  199

   1          MR. CHAFFIN: Objection.                              1         MR. CHAFFIN: Objection.
   2      A. I don't know.                                         2         MR. BELLO: Objection.
   3          BY MR. FINKELSTEIN:                                  3         BY MR. FINKELSTEIN:
   4      Q. Did you know that 5.3 percent of the                  4      Q. Would you -- I think earlier you
   5   population in the original clinical trials of               5   testified that, your personal experience, that
   6   Neurontin reported depression as an adverse                 6   when you take a drug away from somebody you see
   7   event?                                                      7   what the result is, right?
   8          MR. CHAFFIN: Objection.                              8      A. Yes.
   9      A. No, I did not know that.                              9      Q. And you take that into consideration
  10          BY MR. FINKELSTEIN:                                 10   in future prescribing habits?
  11      Q. Did you know that of the 5.3 percent,                11      A. For that patient, yes. I can't say
  12   equated to 78 people, that 19 of them had no               12   that it widely affects the rest of my practice,
  13   prior history of depression?                               13   because each patient is individual.
  14          MR. CHAFFIN: Objection.                             14      Q. What does idiosyncratic mean?
  15      A. I did not know that.                                 15      A. It means it's unexpected.
  16          BY MR. FINKELSTEIN:                                 16      Q. And have you ever seen idiosyncratic
  17      Q. And did you know that 22 of the                      17   affects from medications?
  18   patients required pharmacological treatment for            18         MR. CHAFFIN: Objection.
  19   their depression during the clinical trials?               19      A. I'm sure I have. I can't think of a
  20          MR. CHAFFIN: Objection.                             20   specific instance currently.
  21      A. No.                                                  21         BY MR. FINKELSTEIN:
  22          BY MR. FINKELSTEIN:                                 22      Q. What is a Med Watch report?
  23      Q. Is that information you would have                   23         MR. CHAFFIN: Objection.
  24   liked to have known?                                       24      A. No idea.



                                                          198                                                                  200

   1          MR. CHAFFIN: Objection.                              1         BY MR. FINKELSTEIN:
   2      A. Yes.                                                  2      Q. Have you ever filed a Med Watch
   3          BY MR. FINKELSTEIN:                                  3   report?
   4      Q. What is when you give somebody a drug                 4      A. No.
   5   and they have an effect, a side effect, and then            5      Q. If the drug company that manufactures
   6   you take the drug away and the side effect goes             6   Neurontin was warning physicians in the United
   7   away, what is that called?                                  7   Kingdom that Neurontin can be the subject of
   8          MR. CHAFFIN: Objection.                              8   mood and behavioral disturbances, would you have
   9          BY MR. FINKELSTEIN:                                  9   wanted to know that?
  10      Q. Do you know?                                         10         MR. CHAFFIN: Objection.
  11      A. An anecdotal trial. I don't know.                    11      A. Yes.
  12   I'd be speculating.                                        12         BY MR. FINKELSTEIN:
  13      Q. Well, have you ever heard the term                   13      Q. Did you know that?
  14   de-challenge?                                              14      A. No.
  15      A. No, I have not.                                      15         MR. CHAFFIN: Objection.
  16      Q. Okay. Have you ever heard the term                   16         BY MR. FINKELSTEIN:
  17   challenge?                                                 17      Q. Do you know today whether or not
  18      A. Yes.                                                 18   Neurontin is associated with mood and behavioral
  19      Q. What's a challenge?                                  19   disturbances?
  20      A. Challenge is when you give a patient a               20         MR. CHAFFIN: Objection.
  21   medication and you see what effect it has.                 21      A. Yes.
  22      Q. And when you take the medication away,               22         BY MR. FINKELSTEIN:
  23   the term is de-challenge, you see what the --              23      Q. And what's your knowledge?
  24      A. That makes sense.                                    24      A. My knowledge is that it can cause mood




Neurontin Track One (Plaintiff / Prescriber / Expert Depos)                                                          Page 197 - 200
